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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


                                                 )
 LOURENCO GONCALVES and                          )                   Case No. 1:24-cv-00673-JEG
 CLEVELAND-CLIFFS INC.,                          )
                                                 )               JUDGE JAMES E. GRIMES JR.
        Plaintiffs,                              )
                                                 )    JOINT STIPULATION OF DISMISSAL
        v.                                       )                WITHOUT PREJUDICE
                                                 )
 GORDON JOHNSON.                                 )
                                                 )
        Defendant.                               )
                                                 )


       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs

Lourenco Goncalves and Cleveland-Cliffs Inc. and Defendant Gordon Johnson, by and through

their respective undersigned counsel, hereby jointly stipulate that Plaintiffs’ cause of action

against Defendant be and is dismissed in its entirety without prejudice. Each party shall assume

and bear its own attorneys’ fees, expenses, and costs.
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IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

Dated: August 15, 2024                        Dated: August 15, 2024

 Respectfully submitted,                      Respectfully submitted,



 /s/ Robert S. Faxon                          /s/ John G. Farnan
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and Cleveland-Cliffs Inc.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 15th day of August, 2024, a copy of the foregoing Joint

Stipulation of Dismissal Without Prejudice was filed electronically. Notice of this filing will be

sent by operation of the Court’s electronic filing system to all parties indicated on the electronic

filing receipt.




                                                  /s/ Caitlin M. Dunnett
                                                  Attorney for Plaintiffs
